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                              UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.,                        *
                                               *        CIVIL ACTION CASE
                               Plaintiffs,     *
                                               *        NO. 2:12-cv-00859
 VERSUS                                        *
                                               *        SECTION “I”
 MARLIN GUSMAN, ORLEANS PARISH                 *        JUDGE LANCE M. AFRICK
 SHERIFF, ET AL.,                              *
                                                        MAGISTRATE “5”
                                               *
                               Defendants.              MICHAEL B. NORTH
                                               *
 * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                COMPLIANCE DIRECTOR’S DESIGNATION OF WITNESS

       Independent Jail Compliance Director Darnley R. Hodge, Sr. (the “Compliance Director”),

through undersigned counsel and pursuant to Doc. No. 1332, designates Darnley R. Hodge, Sr. as

the witness for the category listed as “Darnley Hodge or Senior Official with the Orleans Parish

Sheriff’s Office (“OPSO”).”


                                                   Respectfully submitted,


                                                   /s/ Bryan C. Reuter
                                                   Richard C. Stanley, 8487
                                                   Bryan C. Reuter, 23910
                                                   Stanley, Reuter, Ross, Thornton & Alford, L.L.C.
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                                                   Attorneys for Darnley R. Hodge, Sr.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2020, a copy of the foregoing Compliance Director’s

Designation of Witness was filed electronically with the Clerk of Court using the CM/ECF system.

Notice of this filing will be sent to all counsel of record by operation of the Court’s electronic

filing system.


                                                    /s/ Bryan C. Reuter




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